                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                  NO. 3:96-CR-00134

UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )                     ORDER
   v.                                          )
                                               )
MARCUS SIFFORD,                                )
                                               )
               Defendant.                      )
                                               )



        UPON MOTION OF the Defendant Marcus Sifford pro se (Doc. No. 381) and with the

support of the United States Probation Office, the Court hereby terminates early the Defendant’s

supervised release, effective immediately.

        IT IS SO ORDERED.

                                                     Signed: September 9, 2013




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